Case 5:22-cv-00179-EJD Document 54-10 Filed 01/19/23 Page 1 of 6




             EXHIBIT I
                 Case 5:22-cv-00179-EJD Document 54-10 Filed 01/19/23 Page 2 of 6




From: Kelley, Derek W. <Derek.Kelley@klgates.com>
Sent: Tuesday, January 3, 2023 11:55 AM
To: Nicholas A. Rendino <nrendino@kasowitz.com>; Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
Cc: Christine A. Montenegro <CMontenegro@kasowitz.com>; Jason S. Takenouchi <JTakenouchi@kasowitz.com>;
McDevitt, Jerry <Jerry.McDevitt@klgates.com>; Finnerty, Christopher S. <Chris.Finnerty@klgates.com>
Subject: RE: MLW v. WWE - Draft Protective Order and ESI Protocol

Nick – Apologies for the delay. Attached are our revisions to the draft protective order and ESI protocol.

Best,
Derek




Derek Kelley
Partner
K&L Gates LLP
1601 K St. NW #1
Washington, D.C. 20006
Phone: 202-778-9467
Fax: 202-778-9100
Derek.Kelley@klgates.com
www.klgates.com


From: Nicholas A. Rendino <nrendino@kasowitz.com>
Sent: Tuesday, January 3, 2023 10:54 AM
To: Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
Cc: Christine A. Montenegro <CMontenegro@kasowitz.com>; Jason S. Takenouchi <JTakenouchi@kasowitz.com>;
McDevitt, Jerry <Jerry.McDevitt@klgates.com>; Kelley, Derek W. <Derek.Kelley@klgates.com>; Finnerty, Christopher S.
<Chris.Finnerty@klgates.com>
Subject: RE: MLW v. WWE - Draft Protective Order and ESI Protocol




Morgan,

Following up on the emails below and on our outstanding request from our December 19 meet and confer, you
promised edits to the Protective Order and ESI Protocol by last Wednesday (January 28). Please advise on when we can
expect them.

Best,

                                                             1
                      Case 5:22-cv-00179-EJD Document 54-10 Filed 01/19/23 Page 3 of 6
Nick
From: Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
Sent: Friday, December 23, 2022 1:50 PM
To: Nicholas A. Rendino <nrendino@kasowitz.com>
Cc: Christine A. Montenegro <CMontenegro@kasowitz.com>; Jason S. Takenouchi <JTakenouchi@kasowitz.com>;
McDevitt, Jerry <Jerry.McDevitt@klgates.com>; Kelley, Derek W. <Derek.Kelley@klgates.com>; Finnerty, Christopher S.
<Chris.Finnerty@klgates.com>
Subject: RE: MLW v. WWE - Draft Protective Order and ESI Protocol

Hi Nick,

As expected, the holiday schedule slowed things down a bit on our end. Nonetheless, we expect to have revisions to the
protective order to you by Wednesday of next week at the latest.

Best,
Morgan

From: Nicholas A. Rendino <nrendino@kasowitz.com>
Sent: Friday, December 23, 2022 12:01 PM
To: Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
Cc: Christine A. Montenegro <CMontenegro@kasowitz.com>; Jason S. Takenouchi <JTakenouchi@kasowitz.com>;
McDevitt, Jerry <Jerry.McDevitt@klgates.com>; Kelley, Derek W. <Derek.Kelley@klgates.com>; Finnerty, Christopher S.
<Chris.Finnerty@klgates.com>
Subject: Re: MLW v. WWE - Draft Protective Order and ESI Protocol




Morgan and Derek,

Following up on our discussions, can you please let us know when we can expect edits to the Protective Order?

Regards,
Nick


           On Dec 20, 2022, at 10:22 AM, Nicholas A. Rendino <nrendino@kasowitz.com> wrote:


           Hi Morgan and Derek:

           Following up on our meet and confer yesterday, attached please find our edits to the ESI
           Protocol. Please also let us know when we can expect edits to the Protective Order.

           Regards,
           Nick

           From: Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
           Sent: Thursday, December 15, 2022 1:53 PM
           To: Nicholas A. Rendino <nrendino@kasowitz.com>
           Cc: Christine A. Montenegro <CMontenegro@kasowitz.com>; Jason S. Takenouchi
           <JTakenouchi@kasowitz.com>; McDevitt, Jerry <Jerry.McDevitt@klgates.com>; Kelley, Derek W.
                                                              2
           Case 5:22-cv-00179-EJD Document 54-10 Filed 01/19/23 Page 4 of 6
<Derek.Kelley@klgates.com>; Finnerty, Christopher S. <Chris.Finnerty@klgates.com>
Subject: RE: MLW v. WWE - Draft Protective Order and ESI Protocol

Hi Nick,

Monday at 2pm est works for us. Will you be circulating a dial in or would you like me to circulate one?

Best,
Morgan

From: Nicholas A. Rendino <nrendino@kasowitz.com>
Sent: Wednesday, December 14, 2022 8:13 PM
To: Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
Cc: Christine A. Montenegro <CMontenegro@kasowitz.com>; Jason S. Takenouchi
<JTakenouchi@kasowitz.com>; McDevitt, Jerry <Jerry.McDevitt@klgates.com>; Kelley, Derek W.
<Derek.Kelley@klgates.com>; Finnerty, Christopher S. <Chris.Finnerty@klgates.com>
Subject: Re: MLW v. WWE - Draft Protective Order and ESI Protocol




Morgan,



Given the outstanding issues with the proposed protective order and the ESI protocol, as well as the lack
of consideration of our proposed protocols for expert and fact discovery, we would like to schedule a
meet and confer to see if we can narrow the issues before seeking the court’s intervention.



Would you be available for a call on Monday (12/19) after 1pm or Tuesday (12/20) between 10:30 and
3:00?



Thanks,



Nick




Nicholas A. Rendino
Kasowitz Benson Torres LLP
1633 Broadway
New York, New York 10019
Tel. (212) 542-4727
Fax. (212) 500-3492
nrendino@kasowitz.com

                                                    3
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this e-mail or any such files by anyone other than a designated addressee is unauthorized. If you are not an intended recipient,
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          On Dec 13, 2022, at 4:26 PM, Nickerson, Morgan T. <Morgan.Nickerson@klgates.com>
          wrote:




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          PASSWORD, OR OPEN AN ATTACHMENT UNLESS YOU KNOW THAT THE
          MESSAGE CAME FROM A SAFE EMAIL ADDRESS.



          Nick,

          Attached please find my client’s further edits and comments to the draft protective
          order and draft ESI protocol. Kindly let me know if you have any questions or concerns
          with the same.

          Best regards,
          Morgan




          Morgan T. Nickerson
          Partner
          K&L Gates LLP
          State Street Financial Center
          One Lincoln Street
          Boston, MA 02111
          T-617.261.3134
          F-617.261.3175
          morgan.nickerson@klgates.com
          www.klgates.com




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          <DRAFT__Proposed_Protective_Order WWE Edits.DOCX>


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